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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                         CORPUS CHRISTI DIVISION

MARC VEASEY, et al,                  §
                                     §
             Plaintiffs,             §
VS.                                  §       CIVIL ACTION NO. 2:13-CV-00193
                                     §
RICK PERRY, et al,                   §
                                     §
             Defendants.             §

          DEFENDANTS’ NOTICE OF FILING OF TRIAL EXHIBITS

        Defendants submit this Notice of Filing of Trial Exhibits (DEF1441–

DEF1480). An index of Defendants’ trial exhibits is attached as Exhibit 1 to ECF

Docket No. 681.

Dated: November 19, 2014




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                               Respectfully submitted,

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                         CERTIFICATE OF SERVICE


       I hereby certify that on November 19, 2014, a true and correct copy of the
foregoing document was served via the Court’s ECF system to all counsel of record.




                                     /s/ John B. Scott
                                     JOHN B. SCOTT




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